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    1                    IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
    2
         Criminal Action No. 18-cr-00330-MSK-GPG
    3
         UNITED STATES OF AMERICA,
    4
               Plaintiff,
    5
         vs.
    6
         PEDRO CHAVEZ-VARELA,
    7
             Defendant.
    8    _______________________________________________________________

    9                         REPORTER'S TRANSCRIPT
                          (Sentencing Hearing: Order)
   10    _______________________________________________________________

   11              Proceedings before the HONORABLE MARCIA S. KRIEGER,

   12    Judge, United States District Court for the District of

   13    Colorado,   commencing at 12:45 p.m., on the 8th day of January,

   14    2019, Wayne Aspinall Federal Building and United States

   15    Courthouse, Grand Junction, Colorado.

   16

   17                            A P P E A R A N C E S

   18              PETER HAUTZINGER, Assistant U.S. Attorney, 205 North

   19    4th Street, Suite 400, Grand Junction, Colorado, 81501,

   20    appearing for the Government.

   21              RICHARD STUCKEY, Attorney at Law, 1801 Broadway, Suite

   22    1100 Denver, Colorado, 80202, appearing for the Defendant.

   23

   24                   THERESE LINDBLOM, Official Reporter
                      901 19th Street, Denver, Colorado 80294
   25              Proceedings Reported by Mechanical Stenography
                        Transcription Produced via Computer
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    1              (The following proceedings were had and entered of

    2    record after the Court heard the arguments of counsel and

    3    statement of defendant:)

    4              THE COURT:    Thank you.

    5              Then I'll announce the sentence that I intend to

    6    impose.   And, of course, you'll have an opportunity, counsel,

    7    to make objections before judgment is entered.        If you believe

    8    that the sentence that I describe is premised upon error or it

    9    raises an issue that you've not had opportunity to research or

   10    address, I invite you to request a continuance.

   11              Imposition of a sentence in a federal criminal case is

   12    governed by a number of statutes.       The umbrella statute is

   13    18 U.S.C. Section 3553.     In imposing sentence in this case, the

   14    Court has considered the objectives and factors as set forth in

   15    Section 3553(a).    The statute requires the Court to determine

   16    the sentence that is sufficient but not greater than necessary

   17    to satisfy particular objectives:       To reflect the seriousness

   18    of the offense; to promote respect for the law; to provide just

   19    punishment; to adequately deter criminal conduct; to protect

   20    the public from further crimes by the defendant; to provide the

   21    defendant with needed educational or vocational training,

   22    medical care, or other correctional treatment in the most

   23    effective manner.

   24              In addressing those objectives, the statute directs

   25    the Court to consider a number of factors:        The nature and
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    1    circumstances of the offense; the history and characteristics

    2    of the defendant; the kinds of sentences that are available;

    3    the sentence prescribed by the federal sentencing guidelines;

    4    the need to avoid unwarranted sentence disparities among

    5    defendants with similar records found guilty of similar

    6    conduct; and in the appropriate case, the need for restitution.

    7              At the beginning of this hearing, I identified those

    8    documents that I had studied in preparing for the hearing,

    9    confirmed with counsel that they and the defendant had had

   10    adequate opportunity to review and consider those documents,

   11    and that there were no additional documents that needed to be

   12    considered.   There is no dispute by the parties as to the facts

   13    stated in the presentence investigation report or to its

   14    calculation under the sentencing guidelines, and that's where

   15    we start.

   16              For violation of 8 U.S.C. Section 1326(a) and (b)(1),

   17    we apply Section 2L1.2 of the guidelines.        That sets a Base

   18    Offense Level of 8.     In addition, here, there are specific

   19    offense characteristics resulting in an addition of four

   20    levels; that is because the defendant was convicted of another

   21    felony offense after he had been removed from the United

   22    States.   Here, he was convicted of felony menacing in Eagle

   23    County Court and received 60 days in jail with 4 years of

   24    probation on November 20, 2017.      And he had been first removed

   25    from the United States on February 13, 2018 -- I'm sorry.          I
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    1    misstated the standard -- the standard is whether or not there

    2    was a conviction prior to the first removal; and, here, there

    3    was.   The adjusted offense level is therefore 12.        The

    4    acceptance of responsibility results in a decrease of two

    5    levels, resulting in a Total Offense Level of 10.

    6              Then we turn to the criminal history.       Here, there was

    7    a conviction for illegal entry in 1978, followed by a

    8    deportation; in 1997, a conviction for driving under the

    9    influence; 1998, driving under the influence; 1999, disorderly

   10    conduct; 2000, driving under the influence; 2006, obstructing a

   11    peace officer; 2007, driving -- permitting an unauthorized

   12    minor to drive; 2010, driving under the influence; 2011,

   13    driving under the influence; 2017, disorderly conduct; and in

   14    2017, a weapon, prohibited use, drunk with a gun, and a felony

   15    menacing conviction.

   16              This results in a criminal history score of 6, which

   17    places the defendant in Criminal History Category IV.           With

   18    Criminal History Category of IV and an offense level of 10, the

   19    guidelines recommend 15 to 20 months of incarceration,

   20    supervised release of 1 to 3 years, a fine of 4,000 to $40,000,

   21    and a special assessment of $100.

   22              The Government has moved to depart under the

   23    fast-track program.     That motion is found at Docket No. 33.         It

   24    would result in a three-level downward departure under 5K3.1.

   25    A three-level departure takes the offense level from 10 to 7
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    1    and results in an incarceration range of 8 to 14 months.

    2              I'm not finding a reflection on the fine or the

    3    supervised release.     Here it is in a footnote.     It reflects --

    4    they stay the same.     The fine range is 1,000 to $9,500, but the

    5    supervised release stays the same at one to three years.

    6              There is no request for a variant sentence.        The

    7    Government argues for ten months of incarceration, and the

    8    defense asks for bottom of the guidelines at eight months of

    9    incarceration.

   10              I'm concerned.    I'm concerned here because there

   11    already has been a demonstrated pattern of one reentry into the

   12    United States illegally, and the defendant knows that he's not

   13    supposed to be here.     Since he's been here, he has repeatedly

   14    engaged in drunk driving, putting at risk everyone on the roads

   15    and highways that he travels.

   16              In addition, he has demonstrated that he -- an

   17    exercise -- lack of exercise of good judgment in having weapons

   18    and in engaging in conduct that equates to menacing behavior.

   19    Under these circumstances, I -- even though he has received,

   20    generously, from the Government a fast-track departure, I do

   21    not believe that he is appropriately situated at the bottom end

   22    of the guideline range.     Quite to the contrary, I believe it is

   23    at the top end of the guideline range, at 14 months, which is

   24    appropriate under the circumstances, given his extensive

   25    criminal history and the fact that he has been previously
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    1    deported from the United States and reentered illegally.

    2              It is, therefore, my intention to impose a sentence of

    3    14 months of incarceration to be followed by 3 years of

    4    supervised release as a deterrent to him reentering the United

    5    States.   It is expected that he will be deported after he

    6    completes his term of incarceration.       And most of his family

    7    and friends -- if not all of them -- are located here in the

    8    United States.    There, therefore, likely will be a strong

    9    desire for him to return to the United States to see them.          In

   10    addition, there has been no proffer as to how he's going to

   11    support himself in Mexico and what plans and arrangements he

   12    has made there.

   13              So I think the risk of him wanting to come back here

   14    is substantial.    And rather than imposing the standard

   15    conditions on supervised release, I will impose only a special

   16    condition, which is intended to be a deterrent.        That special

   17    condition would be that if he is deported, he not thereafter

   18    reenter the United States illegally; and if he can reenter the

   19    United States legally, he report to the nearest United States

   20    Probation Office within 72 hours of his return.

   21              In addition, I would recommend that wherever he is

   22    housed, that his medical conditions be addressed.

   23              MR. STUCKEY:    We thank the Court for that.

   24              THE COURT:    Which I suspect will be better medical

   25    care than what he's going to receive once he's released.
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    1              MR. STUCKEY:    You mean --

    2              THE COURT:    Any need for clarification, objection,

    3    further explanation, or request for continuance?

    4              MR. HAUTZINGER:    Not here, Your Honor.

    5              THE COURT:    Okay.

    6              MR. STUCKEY:    No, ma'am.

    7              THE COURT:    All right.   Then having determined the

    8    sentence that I believe is appropriate under

    9    18 U.S.C. Section 3553, taking into account the sentencing

   10    objectives and the sentencing factors, it is the judgment of

   11    the Court that the defendant, Pedro Chavez-Varela, be committed

   12    to the custody of the Bureau of Prisons for a term of 14

   13    months.   It is recommended by the Court that his physical

   14    medical condition be assessed and addressed during this time

   15    period.

   16              After release from imprisonment, he will be placed on

   17    supervised release for a term of three years.        While on

   18    supervision, he will not commit another federal, state or local

   19    crime and will not unlawfully possess or use a controlled

   20    substance.   I waive the requirement of drug testing in light of

   21    the fact that it's likely he will be deported.        He will,

   22    however, cooperate in the collection of DNA as directed by the

   23    probation officer.

   24              The standard conditions of General Order 2016-1 are

   25    not imposed.    However, a special condition in accordance with
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    1    18 U.S.C. Section 3553(a) and 3583(d) is imposed.         That

    2    condition is that if he is deported, he must not thereafter

    3    reenter the United States illegally; and if he can reenter the

    4    United States legally, he must report to the nearest United

    5    States Probation Office within 72 hours of his return.

    6              Sir, I am doing this as a deterrent.       I know you're

    7    going to want to come back to the United States.         You can't.

    8    And the reason this is a deterrent is, if you come back

    9    illegally, as you've done before, you can be charged with

   10    illegal reentry again, and you can be charged with violating

   11    the terms and conditions of supervised release.        If you're

   12    convicted of both of those, two separate prison sentences can

   13    be imposed; and they can run back to back, making the time that

   14    you spend in prison much longer than the time you're spending

   15    now.

   16              Please keep that in mind after you're deported.         If

   17    you want to stay out of jail, you need to stay out of the

   18    United States unless you can come back legally.

   19              No fine is imposed for the reasons stated, the

   20    inability of the defendant to pay.       The special assessment of

   21    $100, however, is due and payable immediately.

   22              Sir, I advise you of your right to appeal this

   23    sentence.   To the extent that you reserve that right in your

   24    plea agreement, you must exercise it within 14 days after

   25    judgment is entered.     And you do so by filing a notice of
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    1    appeal.   Now, ordinarily your attorney, Mr. Stuckey, would file

    2    the notice of appeal for you; but if for some reason he is

    3    unable or unwilling to do so and you wish to appeal, you may

    4    request and I will direct the Clerk of Court to file a notice

    5    of appeal on your behalf.

    6              Is there any further business to bring before the

    7    Court?

    8              MR. HAUTZINGER:    I don't believe so, Your Honor.

    9              MR. STUCKEY:    We have none, Your Honor.      We thank the

   10    Court.

   11              THE COURT:    Thank you very much, counsel; thank you to

   12    our marshal staff and our probation officer, our court staff,

   13    and our interpreter.     I apologize for the mix-up with regard to

   14    the starting of this hearing.      We will stand in recess until --

   15    until 2:00 o'clock.     That will give the parties -- the staff in

   16    Denver and the staff here in Grand Junction an opportunity to

   17    get lunch before we begin the next hearing.

   18              THE DEFENDANT:    Thank you, Your Honor.

   19              (Recess at 1:13 p.m.)

   20                           REPORTER'S CERTIFICATE

   21             I certify that the foregoing is a correct transcript
         from the record of proceedings in the above-entitled matter.
   22
                   Dated at Denver, Colorado, this 11th day of January,
   23    2019.

   24

   25                                        ______________________________
                                             Therese Lindblom,CSR,RMR,CRR
